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10
11                       UNITED STATES DISTRICT COURT
12
                       CENTRAL DISTRICT OF CALIFORNIA
13
14     ALLYSON CHAGAS,                        CASE NO. 2:19-CV-03860
15                                            [Assigned for all purposes to the
                         Plaintiff,           Honorable Judge John A. Kronstadt,
16
                                              Dept. 10B]
17
             vs.

18                                            Supplemental Statement regarding
       UNITED AIRLINES, INC., and             Defendant’s Motions to Compel
19     DOES 1 through 10, inclusive
20
                         Defendant.           Hearing Date:    March 10, 2020
21                                            Complaint Filed: March 28, 2019
22
                                              Trial Date:      Not yet set

23
24         TO THE COURT AND TO ALL PARTIES AND THEIR COUNSEL
25   OF RECORD HEREIN:
26         Pursuant to Local Rule 37, Plaintiff submits the following Supplemental
27   Statement regarding Defendants Motions to Compel as follows:
28

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 1         The purpose to the rules requiring meet and confer efforts is so Parties can
 2   find a way to an agreement and discovery motions can be avoided. For Parties to
 3   find compromise(s). Yet, here, when compromise was offered, or reached,
 4   Defendant still raced off to Court filing 4 motions to compel (a second deposition
 5   of 11+ hours, medical records, interrogatory, and document responses) in one long
 6   motion and seeking sanctions. More, as set out in the joint statement, many of the
 7   issues were NEVER addressed in meet and confer efforts before filing the motion.
 8   This is improper.
 9      1. Second Session of Plaintiff’s Deposition
10         Plaintiff’s counsel has consistently offered Mr. Chagas to come back for
11   another hour or two of deposition, but Defendant refuses. Defendants position,
12   consistent throughout, has been a “my way or the highway” scorched earth
13   approach. Defendant will not be satisfied unless Plaintiff capitulates to an
14   unlimited second 7-hour deposition to go over everything they already covered
15   again, plus another 4+ hours to watch the video. Ostensibly, so they can ask about
16   the same issues to create inconsistencies and continue to call Mr. Chagas a liar.
17         In at least three other depositions in this case, Plaintiff’s counsel has used
18   the video and displayed it to different witnesses, each time queuing/setting it up
19   and asking specific questions. Each time it has taken about 30 minutes or so.
20   Plaintiff answered interrogatory set three identifying the places in the video at
21   issue. As part of Mr. Chagas’ grievance appeal of his termination, his union
22   representative wrote a letter to United also identifying the exact spot in the video
23   that is at issue. There is no need to watch 4 hours off the record and then spend 7
24   hours answering questions. Any additional documents (Plaintiff produced 35
25   additional pages of documents as part of the meet and confer compromises) can
26   also be covered during those one to two (1-2) hours. As we have offered from the
27   get go, Plaintiff is more than willing to sit for another hour or two so Defendant
28   can ask questions about the video and cover areas not already covered and the

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 1   approximately 35 pages of documents that were produced by Plaintiff as part of his
 2   supplemental production.
 3      2. Medical Records
 4         First, Defendant has received the redacted records it requested and agreed to
 5   receive. Document demand number 32 asked for those records related to treatment
 6   caused by United’s conduct. The redacted records given to United following our
 7   first look agreement, has these records. The redacted information has NOTHING
 8   to do with wrongful conduct by United.
 9         Second, the release Mr. Chagas signed as part of the compromise for the first
10   look agreement also was for those records related to claims arising out of his
11   employment. Again, Defendant has these records.
12         Defendant is asking for documents beyond the scope of what it requested
13   and agreed to in demand number 32 and as part of the first look agreement. This
14   cannot be disputed.
15         It appears, Defendant is truly upset that Mr. Garren did not show for his
16   deposition or produce more records. (They have since filed a motion to compel
17   against him). This is entirely out of Plaintiff’s control. We do not control him or
18   know what additional records, if any, he has. We have produced what was
19   provided to us.
20         Lastly, the parties agreed to conduct a meet and confer following the
21   production of the redacted records to discuss the redactions. Then, if necessary,
22   the Parties would go to the Court to address this issue. In other words, to comply
23   with the protective order. This was not done. Instead, Defendant raced off to
24   Court just a few short days later requesting the Court to give them more documents
25   than they asked for, or are entitled to. The redactions contain privileged
26   information of Mr. Chagas’ medical records. The Court should honor his medical
27   privilege and privacy and not allow Defendant to go digging through the records.
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 1      3. Interrogatory Responses
 2         Defendant has not been denied discovery or information from the
 3   interrogatories to defend the case. As explained in the Joint Statement, the
 4   questions at issue mostly pertain to Defendant seeking the identities of witnesses
 5   who had information about the events at the hotel, who retaliated against plaintiff,
 6   who his health care providers are that treated him related to his claims in this case,
 7   and his mitigation of damages. When Defendant asked for supplemental
 8   responses, following a meet and confer efforts, the information was given.
 9         Defendant has been provided with all this information and more. Plaintiff
10   has identified the doctors he treated with related to his claims. Defendant sought
11   out and “unearthed” a different doctor, but that doesn’t mean it is someone that
12   Plaintiff consulted regarding his claims in this case. He identified all the places he
13   applied and sought employment as well as produced documents from these entities,
14   emails, etc.
15         As set out in the joint statement, Defendant’s main issue was they wanted
16   the contact information. Thus, it was agreed that Plaintiff would produce the
17   contact information Mr. Chagas had of those non-United employees (they have
18   their own employees contact information). This is what was done. Phone numbers
19   for all these persons was provided. More, counsel for Plaintiff offered to help
20   coordinate depositions of anyone they wanted to depose. Defendant NEVER took
21   us up on this offer. Phone numbers promised were delivered. Supplemental
22   responses promised were provided. Simply because Defendant does not like a
23   response does not make it non-responsive or requiring a motion to compel. The
24   responses are compliant and what was agreed upon.
25      4. Documents Defendant Claims it doesn’t have
26         Defendant bullet pointed out the documents it says it doesn’t have.
27   However, this is not true. Plaintiff has produced:
28                  A) the phone records from the time period at issue (Chagas 14-15) ,

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 1                 B) text messages from the time at issue (Chagas 16-19 and 107-110),
 2                 C) emails (Chagas 91-102 and 111-125),
 3                 D) social media (the Facebook voice messages were played at
 4                 deposition and on the CD Chagas 126)
 5                 E) Department of Labor Complaint,
 6                 F) Photos/Audio (produced on CD labeled Chagas 126), and
 7                 G) medical records (Plaintiff did produce redacted records of
 8                 communications about the allegations in the complaint per agreement
 9                 of the parties).
10   Significantly, Mr. Chagas has produced what he has and has supplemented as
11   required. However, as always happens in discovery, at depositions, as a result of
12   depositions, or just in the nature of discovery, additional documents get unearthed.
13          In fact, yesterday, at the depositions of Mr. Chagas’ union representatives,
14   an email between Mr. Chagas and his union representative was produced.
15   However, also in those documents were DOZENS of pages of documents/emails
16   United had NOT turned over, withheld, or hid. Why did United not produce these
17   before? Or was it just that when dealing with documents and discovery more
18   things get unearthed as the process moves along. This is why there is a duty to
19   supplement. The documents we have responsive to the requests have been turned
20   over. This motion is nothing more than part of the scorched earth tactics being
21   employed by Defendant in this case.
22
23   Dated: February 25, 2020               THE AARONS LAW FIRM
24
                                            _______/S/_____________________
25                                          Martin I. Aarons
                                            Attorneys for Plaintiff
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27
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                                              PROOF OF SERVICE
 1
 2                        STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 3           I am employed in the aforesaid county, State of California; I am over the age of 18 years
 4    and not a party to the within action. My business address is: 16000 Ventura Boulevard, Suite
      850, Encino, CA 91436.
 5
            On February 25, 2020, I served the foregoing document titled: Supplemental
 6
     Statement regarding Defendants Motions to Compel, upon the following parties in this action
 7   by placing a true copy thereof, enclosed in a sealed envelope, addressed as follows:

 8        Counsel for Defendants                              Counsel for Defendants
 9        Michele Haydel Gehrke, Esq.                         Fatemeh S. Mashouf, Esq.
          REED SMITH, LLP                                     REED SMITH, LLP
10        101 Second St., Suite 1800                          355 South Grand Ave., Suite 2800
          San Francisco, CA 94105                             Los Angeles, CA 90071
11
          Tel: (415) 543-8700                                 Tel: (213) 457-8000
12        Fax: (415) 391-8269                                 Fax: (213) 457-8080
          mgehrke@reedsmith.com                               fmashouf@reedsmith.com
13
14   []        BY MAIL: I caused such envelope with postage thereon fully prepaid to be placed in the
               United States Mail at Encino, California.
15
     []        BY PERSONAL SERVICE: I caused the service of such document to be personally
16
               delivered to addressee(s).
17
     [X]       SERVICE BY ELECTRONICALLY FILED DOCUMENTS. Pursuant to
18             Local Rule L.R. 5-3.3 upon the electronic filing of a document, a Notice of
19             Electronic Filing (NEF) is automatically generated by the CM/ECF system and
               sent by e-mail to all attorneys in the case who are registered as CM/ECF Users and
20
               have consented to electronic service. Service by this electronic NEF constitutes
21             service pursuant to the FRCP and Criminal Procedure for all attorneys who have
               consented to electronic service.
22
23   [X]       I declare under penalty of perjury that the foregoing is true and correct.

24             Executed on February 25, 2020, at Encino, California.
25
26
                                                      _____________/s/_________________
27                                                    Martin I. Aarons
28

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